        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
        U
                                                                                          Raleigh Area Office
                                                                               434 Fayetteville Street, Suite 700
                                                                                            Raleigh, NC 27601
                                                                                                 (984) 275-4800
                                                                                      Website: www.eeoc.gov


                       DISMISSAL AND NOTICE OF RIGHTS
                       (This Notice replaces EEOC FORMS 161 & 161-A)

                                       Issued On: 0/2023
To: Craige Robinson
    1524 Thoroughbred Trail
    Parkton, NC 28371

Charge No: 433-2022-02101
EEOC Representative and email:       ALVAN ROBINSON
                                     Senior Federal Investigator
                                     alvan.robinson@eeoc.gov
                                     984-275-4825

                                   DISMISSAL OF CHARGE

The EEOC has granted your request for a Notice of Right to Sue, and more than 180 days have
passed since the filing of this charge.
The EEOC is terminating its processing of this charge.

                              NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 433-2022-02101.

                                               On               Commission,
                                                n behalf of the Commissio

                                                                                              For/
                                               Michael
                                                ichael D. Kirkland
                                               Acting Raleigh Area Director




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